                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION



STATE OF FLORIDA,

      Plaintiff,

v.                                           CASE NO. 8:21-cv-2524-SDM-TGW

BILL NELSON, et al.,

      Defendants.
___________________________________/


                                     ORDER

      The joint motion (Doc. 19) to amend the complaint and to modify the briefing

schedule on the motion for a preliminary injunction is GRANTED. The parties

must conform to the schedule and page limits proposed in page two of the motion.

      ORDERED in Tampa, Florida, on November 15, 2021.
